  Case 1:17-cv-00320-JMS-RLP Document 84 Filed 04/26/18 Page 1 of 1                          PageID #: 755


ORIGINAL                       United States District Court
                                                    for the

                                               District of Hawaii

        ME2 Productions, Inc. et al.

                   Plaintiff                                  Civil Action No: 1:17-cv-00320-JMS-RLP
                        V

  Dragon Media, Inc. d/b/a Dragon Box et al.

                  Defendant
                                                                                       FILED IN THE
                                                                                UNITEDdistrict
                                                                                       STATES DIS|™CT
                                                                                               OF HAWAII
                                                      A CIVIL ACTION
                                                                                        APR 2 6 2018
To: {Plaintiff's attorney name and address) KERRY S. CULPEPPER                 3,1 o'clock and
                                           75-5737 KUAKINI HIGHWAY                —SUEBEITIA^CLERK
                                           SUITE 102
                                                                                              ua
                                           KAILUA-KONA, HI 96740




I file a general denial to all allegations and assert all available defenses including but not limited
to lack of jurisdiction, failure of service as well as all other affirmative defenses.



Date:     April 26. 2018


Jason Bamhart                                                       Clerk of Court
7452 Makaa Street
Honolulu, HI 96825




Attorney Pro Se                                                     Signature ofclerk or deputy
